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 15    Attorneys for Plaintiff PINN, INC.

 16                  IN THE UNITED STATES DISTRICT COURT

 17       CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION

 18
      PINN, INC.,                           Case No. 8:19-cv-1805-DOC-JDE
 19                         Plaintiff,
 20
            v.                              PINN’S RESPONSE TO APPLE’S
                                            MOTION FOR JUDGMENT AS A
 21   APPLE INC.,                           MATTER OF LAW UNDER RULE
 22
                            Defendant.      50(A)

 23                                         District Judge: Hon. David O. Carter
 24
                                            Magistrate Judge: John D. Early
                                            Tech. Special Master: David Keyzer
 25

 26
                                            Trial Date: August 2, 2022
                                            Courtroom: 10A
 27                                         Judge:      Hon. David O. Carter
 28


                    Pinn’s Response to Apple’s Motion for Judgment as a Matter of Law
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  1   I.       INTRODUCTION
  2            Apple has filed its Motion for Judgment as a Matter of Law Under Rule 50(a)
  3   (“Motion”). ECF 624. To the extent required under applicable law, Pinn has satisfied
  4   its burden to present substantial evidence on each of the issues raised below.
  5   II.      APPLICABLE LAW
  6
               The standard for evaluating a motion for judgment as a matter of law (JMOL)
  7
      is as follows:
  8
               We review a district court's order denying JMOL under the standard
  9            applied by the regional circuit. Apple, Inc. v. Samsung Electronics Co.,
 10            Ltd., 839 F.3d 1034, 1040 (Fed. Cir. 2016). In the Ninth Circuit, JMOL
               “is proper when the evidence permits only one reasonable conclusion
 11            and the conclusion is contrary to that of the jury.” See Monroe v. City
 12            of Phoenix, 248 F.3d 851, 861 (9th Cir. 2001). The Ninth Circuit
               explains that “[t]he evidence must be viewed in the light most favorable
 13            to the nonmoving party, and all reasonable inferences must be drawn in
 14            favor of that party.” Id. The Ninth Circuit reviews a district court's
               decision to deny JMOL de novo. Id.
 15

 16   Cal. Inst. of Tech. v. Broadcom Ltd., 25 F.4th 976, 985 (Fed. Cir. 2022) (emphasis

 17   added) (although here this is pre-jury submission, the standard to obtain submission
 18
      to the jury is not higher than that to sustain the jury’s verdict). Apple cannot meet this
 19

 20   exacting standard as to any of the bases on which it is seeking JMOL.

 21   III.     SUBSTANTIAL EVIDENCE OF INFRINGEMENT
 22
               Pinn presented substantial evidence that the AirPods 2nd Generation and
 23
      AirPods Pro (“Accused Products”) satisfy each and every limitation of Claim 10 of
 24
      the ’066 Patent and Claim 25 of the ’198 Patent. That evidence was presented
 25
      primarily by Pinn’s infringement expert, Dr. Rhyne.1 Additional supporting
 26
      evidence was provided by Professor Julie Workman and by Apple engineers Kurt
 27
      1
 28       All references and citations to specific testimony include the exhibits described or discussed
           therein.
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  1   Stiehl and Robert Watson.
  2         A.     The AirPods initiate the pairing process in response to pressing a
  3
                   user input button on the case

  4         Pinn’s expert, Dr. Rhyne, went through a step by step and limitation by
  5   limitation analysis of how the AirPods Gen. 2 and AirPods Pro read on each claim
  6   limitation for Claim 10 of the ’066 Patent and Claim 25 of the ’198 Patent. See
  7   8/4/2022 Transcript, Day 3, Vol. IV, at 13-45 (Testimony of Rhyne). He concluded
  8   that all limitations of both Claims were met, and that the Accused Products infringe.
  9   For example, with respect to the pairing process, see id. at 28, 35-36.
 10         Also, Prof. Workman explained that the pairing process was initiated as taught
 11   by the claims, including specifically pointing to source code that shows this
 12   functionality. She testified, for example: “[T]his same command, if either is true, is
 13   sent to the buds to tell it to activate . . . pairing, which results in the buds becoming
 14   discoverable. Q. So, in other words, the same process is carried out whether it’s out-
 15   of-box pairing or button pairing? A. Yes.” 8/4/2022 Transcript, Day 3, Vol. I at 29:6-
 16   12; see also id. at 34:2-4 (“A. Yes. We already saw that it can tell it to enter its
 17   pairing mode and … it'll charge the bud, and various other things.”); id. at 39:19-25
 18   (“Q. Now, you testified that when a user presses a button on the case, the case sends
 19   a message to the earbud, the AirPods’ earbuds, to become discoverable; right? A. It
 20   sends a command to tell it to start its pairing state, yes. Q. And that pairing state is
 21   to become discoverable? A. Yes, sir.”).
 22         Additionally, in patent applications directed to the Accused Products, Apple
 23   used “initiate pairing” language in communications with the Patent Office. See, e.g.,
 24   8/3/2022 Transcript, Day 2, Vol. III at 28-31 (Testimony of Stiehl). This is more
 25   than adequate testimony to submit this issue to the jury.
 26         B.   The AirPods charging case initiates charging of a battery in the
 27              earbud
            Apple engineer, Kurt Stiehl, admitted that the Accused Products have
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  1   charging circuitry. 8/3/2022 Transcript, Day 2, Vol. III at 52, 54. Prof. Workman
  2   explained that the charging case initiates charging of the battery in the earbud,
  3   specifically pointing to relevant source code. She concluded: “Q. So does this mean
  4   that the code in the charging case is initiating the charging of the earbud? A. Yes.”
  5   8/4/2022 Transcript, Day 3, Vol. I at 25:15-17. See also id. at 22-24. Additionally,
  6   Dr. Rhyne explained how this limitation was satisfied by the Accused Products. See
  7   8/4/2022 Transcript, Day 3, Vol. IV at 18-22, 25-27, and 41-42. Again, this evidence
  8   is more than sufficient.
  9         C.        The AirPods include a charging case that satisfies the “mobile base
 10
                      station” limitation

 11         Dr. Rhyne clearly explained how this limitation was satisfied. See 8/4/2022
 12   Transcript, Day 3, Vol. IV at 15, 17-18. See also Prof. Workman testimony at
 13   8/4/2022 Transcript, Day 3, Vol. I at 18:20-19:5, 19:15-18; 21:2-5; 25:23-26:6; 30:3-
 14   13. Pinn presented more than substantial evidence. Indeed, Apple is now pursuing
 15   “base station” claim constructions that the Court previously rejected. See, e.g., ECF
 16   423-1 at 26-45 and ECF 459 at 4.
 17         D.        The AirPods practice the “configured to generate sound” limitation
 18         Apple engineer Watson testified on this issue as follows: “Q. ... The sound is
 19   coming out of the earbud; correct? A. After the earbud has been located, the AirPod,
 20   a sound -- it will play a sound. Q. But isn't the sound played so that you can locate
 21   the earbud? A. The sound is played so you can hear it and help you locate the
 22   earbud.” 8/4/2022 Transcript, Day 3, Vol. 2, at 26:5-12; see also id. at 27:12-15 (“Q.
 23   The AirPod and the phone have to be connected and wirelessly paired and
 24   communicating over Bluetooth for that sound to come out of the AirPods; correct?
 25   A. Yeah, I agree.”). Dr. Rhyne also explained at length how this limitation was
 26   satisfied. See 8/4/2022 Transcript, Day 3, Vol. IV at 29-34. This evidence presents
 27   a jury issue.
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  1   IV.     SUBSTANTIAL         EVIDENCE          OF     WRITTEN         DESCRIPTION
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              SUPPORT

  3           Here, “written description” proof was presented through the direct testimony
  4   of Dr. Scott Nettles. See 8/3/2022 Transcript, Day 2, Vol. 4, at 50:5-18; 51:1-53:2;
  5   53:17-23, discussing, for example, Claims 15 and 11 of the provisional application
  6   in connection with the “direct communication” issue. See also id. at 53:24-56:2,
  7   72:5-73:19, and 77:22-78:21. Dr. Nettles opined that each and every limitation of
  8   Claim 10 of the ’066 Patent and Claim 25 of the ‘198 Patent are fully disclosed in
  9   and enabled by the April 3, 2015, provisional patent application. Id. at 95:4-7. Sean
 10   Kim also presented evidence of written description support, particularly with respect
 11   to direct communication between a smartphone and an earbud. See 8/5/2022
 12   Transcript, Day 4, Vol. I at 51:16-53:13. The asserted claims are supported by the
 13   April 3, 2015, provisional application and, therefore, entitled to that effective filing
 14   date.
 15           Moreover, written description is subsumed in the issue of invalidity, which
 16   Apple must prove by clear and convincing evidence. The burden never shifts away
 17   from Apple. See Microsoft Corp. v. i4i Ltd. P’ship, 564 U.S. 91, 95 (2011).
 18   V.      SUBSTANTIAL EVIDENCE OF DAMAGES
 19           Ms. Keiko Hikino testified on Friday, August 5, 2022, and presented evidence
 20   of her Georgia-Pacific analysis. 8/5/2022 Transcript, Day 4, Vol. II at 44-45 et seq.
 21   She testified as to her detailed apportionment analysis and explained how she
 22   followed the law to make sure that her damages analysis was based on the value
 23   attributable to the patented inventions. Id. at 59:21-60:25. She testified that she
 24   focused on the smallest saleable patent practicing unit (“SSPPU”) by focusing on
 25   the most basic model of the Accused Products (the Accused Product with the lowest
 26   average sales price). Id. at 60:6-61:4. The Court has previously recognized that
 27   Apple has been “unable to identify any smaller alternative SSPPU.” ECF 549 at 14.
 28           Ms. Hikino specifically referenced her own independent investigation of the
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  1   technology, and she relied further on Mr. Petro and Dr. Rhyne to help her analyze
  2   and evaluate the value of the patented technology as distinguished from Apple’s
  3   contributions to the value of the Accused Products. Id. at 62:11-21. Ms. Hikino
  4   explained, in a manner consistent with the law and with the Court’s jury instructions,
  5   that the settlement agreements include “built in apportionment” and that the
  6   Samsung agreement clearly was not a nuisance value settlement, since Samsung
  7   additionally agreed that it would not in the future sell wireless earbud systems that
  8   include a pairing button on the mobile charging case. Id. at 73. Pinn presented
  9   substantial evidence of damages.
 10   V.    SUBSTANTIAL EVIDENCE OF WILLFUL INFRINGEMENT
 11         “To prevail on an allegation of willful infringement, the patentee must prove
 12   (1) that the accused infringer ‘acted despite an objectively high likelihood that its
 13   actions constituted infringement of a valid patent’; and (2) that this objectively
 14   defined risk was either known or so obvious that the accused infringer should have
 15   known about it. In re Seagate Tech., LLC, 497 F.3d 1360, 1371 (Fed. Cir. 2007) (en
 16   banc).” K-Tec, Inc. v. Vita-Mix Corp., 696 F.3d 1364, 1378 (Fed. Cir. 2012).
 17         Pinn presented testimony through Sean Kim and Jayna Whitt showing that Pinn
 18   notified Apple by way of emails in October 2016 and October 2017 about its
 19   intellectual property portfolio, including the April 3, 2015, Provisional Application,
 20   and that Apple was dismissive of Pinn. 8/5/2022 Transcript, Day 4, Vol. II at 13:4-9,
 21   16:19-24, 17:19-24, 18:3-24 (Whitt testimony); 8/5/2022 Transcript, Day 4, Vol. I at
 22   54 (Kim testimony). Ms. Whitt admitted that Apple did not take action in response to
 23   any of those emails and did not conduct any investigation whatsoever – in violation
 24   of its own policies. 8/5/2022 Transcript, Day 4, Vol. II at 12:8-13:3, 13:7-9, 13:22-
 25   23, 14:12-19 (Whitt testimony).
 26         Further, Pinn presented substantial evidence that both patents issued after suit
 27   had already been filed. Apple had notice of the soon-to-issue patents when the lawsuit
 28   was filed in September 2019 and certainly had notice of the patents as soon as the
                                              5
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  1   patents issued in October 2019 (’066 Patent) and March 2020 (’198 Patent). Since at
  2   least those issuance dates, Apple has had notice that it infringed. Since that time,
  3   Apple has continued to sell infringing products, has undertaken no effort to modify
  4   the products to avoid infringement, and continued to practice the asserted claims
  5   without permission or license and without a good faith belief in any legitimate non-
  6   infringement or invalidity defense.
  7         Apple’s infringing conduct satisfies the willful infringement standard and
  8   presents a jury issue.
  9   VI.   CONCLUSION
 10         In view of the substantial record evidence, including but not limited to the
 11   evidence described above, the Motion should be denied.
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  1                             CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above and
  3   foregoing document has been served on August 8, 2022, to all counsel of record who
  4   are deemed to have consented to electronic service via the Court’s CM/ECF system
  5   per Civil Local Rule 5.4. Any other counsel of record will be served by electronic
  6   mail, facsimile and/or overnight delivery.
  7

  8                                         /s/ David Skeels
  9                                         David Skeels

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